Case 1:19-cv-01339-DCJ-JPM Document 26-14 Filed 08/31/20 Page 1 of 3 PagelD #: 1406

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
JERRY MCKINNEY, SR. CIVIL ACTION NO. 1:19-CV-01339
VERSUS JUDGE DRELL
RAPIDES PARISH SHERIFF’S
OFFICE and SHERIFF WILLIAM
EARL HILTON MAG. JUDGE PEREZ-MONTES

RESPONSES TO PLAINTIFF’S FOURTH SET OF DISCOVERY REQUESTS TO
DEFENDANT SHERIFF WILLIAM EARL HILTON

NOW COMES Defendant, SHERIFF WILLIAM EARL HILTON, who in answer and

response to Plaintiff's Request For Admissions respectfully supplements as follows:

REQUEST FOR ADMISSION NO. 55:

Warden Batiste, whether or not he had authority to do so, allowed Jerry McKinney to work
some number of eight-hour shifis rather than twelve-hour shifts. If McKinney had worked the
twelve-hour shifts of his assigned position, rather than those eight-hour shifts, he would not have

been terminated.

RESPONSE:

Admit.

Respectfully Submitted:
- es YE on a of
PROVOSTY, SADLER-& deLAUNAY, APC
IMLS ZA.
By La
H. BRADFORD CALVIT (#18158)

<2

vo

ELI J, MEAUX (#33981)

 

934 Third Street, Suite 800 (71301)
P.O. Box 13530

Alexandria, LA 71315-3530

P: 318/767-3133 F: 318/767-9650
ATTORNEYS FOR DEFENDANT,
WILLIAM EARL HILTON,
SHERIFF OF RAPIDES PARISH
Case 1:19-cv-01339-DCJ-JPM Document 26-14 Filed 08/31/20 Page 2 of 3 PagelD #: 1407

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the above and foregoing RESPONSE TO
PLAINTIFF’S FOURTH SET OF DISCOVERY TO DEFENDANT WILLIAM EARL HILTON
has this day been served upon counsel for all parties hereto by placing a copy of same in the First
Class United States Mail, postage prepaid and properly addressed and via E-mail on this the 8™ day
of April, 2020.

Mr. David Lanser

Attorney at Law

201 St. Charles Avenue, Ste. 114, #101
New Orleans, LA 70170

(504) 509-5023

 

Y or “COUNSEL
Case 1:19-cv-01339-DCJ-JPM Document 26-14 Filed 08/31/20 Page 3 of 3 PagelD #: 1408

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
ALEXANDRIA DIVISION

JERRY MCKINNEY, SR. CIVIL ACTION NO. 1:19-CV-01339
VERSUS JUDGE DRELL

RAPIDES PARISH SHERIFF’S
OFFICE and SHERIFF WILLIAM
EARL HILTON MAG. JUDGE PEREZ-MONTES

VERIFICATION

I, WILLIAM EARL HILTON, under the penalty of perjury, state that I am the duly elected
Sheriff of Rapides Parish, Louisiana, and a Defendant herein in that capacity, in the case of "Jerry
McKinney, Sr. v. Rapides Parish Sheriff's Office and Sheriff William Earl Hilton", Civil Action No.
1:19-CV-01339, in the United States District Court, Western Division of Louisiana, Alexandria
Division, and that I have replied to the Plaintiff's Fourth Set of Discovery, as of this date, and that
I certify that the information contained therein is true and accurate to the best of my current
knowledge and belief.

Alexandria, Rapides Parish, Louisiana, this 8" day of April, 2020.

s
b detinns L vice

WILLIAM EARL HILTON, SHERIFF OF
RAPIDES PARISH
